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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA


 L.S., a minor by her mother and next friend
        YASMIN LORENA HERNANDEZ;
 GIANCARLO MENDOZA;                                   Case No.
 G.E.M. a minor by her mother and next friend
        AMALFI MENDOZA;                               Hon.
 N.V., a minor by her mother and next friend
        AYDE VERA;
 E.T., a minor by his mother and next friend
        OLGA MATHURIN;
 C.M.W., a minor by her mother and next friend
        CATHY SANCHEZ;
 C.D.W., a minor by her mother and next friend
        JUDYANN WOLF;
 A.J.T., a minor by her mother and next friend
        LAURIE JO BRANGAN;
 T.M., a minor by his mother and next friend,
        CRYSTAL LUGO;
 G.B., a minor by his mother and next friend,
        JENNIFER BARRERA;
 AUDREY DIAZ;
 B.A.J., a minor by his mother and next friend,
        YUDELQUIS DURAN;
 K.J.S.H., a minor by his guardian and next friend,
        JUANITA A. VIVES;
 R.D., a minor by his mother and next friend,
        DAWN DeLENA;
 K.J.M., a minor by her mother and next friend,
        TANYA McCONNELL;

             Plaintiffs,
 v.

 SCOT PETERSON;
 JOHN DOES 1-3;
 JAN JORDAN;
 ANDREW MEDINA;
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 ROBERT RUNCIE;
 SCOTT ISRAEL;
 BROWARD COUNTY, a political subdivision
 of the State of Florida.

              Defendants.
 ____________________________________________/
 Kristoffer R. Budhram (125950)
 Attorney for Plaintiffs
 Bank of America Tower
 50 N. Laura Street, Suite 2500
 Jacksonville, FL 32202
 (904) 299-5500
 krbudhram@benedettolaw.com

 Solomon M. Radner (pro hac vice to be applied for)
 Michigan Bar No. P73653
 EXCOLO LAW, PLLC
 Attorney for Plaintiffs
 26700 Lahser Road, Suite 401
 Southfield, MI 48033
 (248) 291-9712
 sradner@excololaw.com
 ____________________________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL
       NOW COMES Plaintiffs, by and through their attorneys, complaining of
 Defendants, and respectfully allege as follows:
                          JURISDICTION AND VENUE

        1.   This is a civil rights action in which the Plaintiffs seeks relief for the
 violation of rights secured by 42 U.S.C. § 1983 and the Fourth and Fourteenth
 Amendments.
        2.   Jurisdiction of this Court is found upon 28 U.S.C. § 1331.


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        3.    The events that give rise to this lawsuit took place at the Marjory
 Stoneman Douglas High School, located at 15901 Pine Island Road, Parkland,

 Florida, 33076.
        4.    Venue is appropriate in the Southern District of Florida pursuant to 28
 U.S.C § 1391(b).

                                        PARTIES
        5.    Yasmin Lorena Hernandez is the mother and guardian of L.S. and is a
 resident of Parkland, Florida. L.S. is a student at Marjory Stoneman Douglas

 Highschool and a resident of Parkland, Florida.
        6.    Giancarlo Mendoza is a student at Marjory Stoneman Douglas
 Highschool and a resident of Parkland, Florida.

        7.    Amalfi Mendoza is the mother and guardian of G.E.M. and is a resident
 of Parkland, Florida. G.E.M. is a student at Marjory Stoneman Douglas Highschool
 and a resident of Parkland, Florida.
        8.    Ayde Vera is the mother and guardian of N.V. and a resident of
 Parkland, Florida. N.V. is a student at Marjory Stoneman Douglas Highschool and
 a resident of Parkland, Florida.
        9.    Olga Mathurin is the mother and guardian of E.T. and is a resident of
 Parkland, Florida. E.T. is a minor and student at Marjory Stoneman Douglas
 Highschool and a resident of Parkland, Florida.
        10. Cathy Sanchez is the mother and guardian of C.M.W. and is a resident
 of Parkland, Florida. C.M.W. is a minor and student at Marjory Stoneman Douglas
 Highschool and a resident of Parkland, Florida.

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        11. Judyann Wolf is the mother and guardian of C.D.W. and is a resident
 of Coral Springs, Florida. C.D.W. is a minor and student at Marjory Stoneman

 Douglas Highschool and a resident of Coral Springs, Florida.
        12. Laurie Brangan is the mother and guardian of A.J.T. and is a resident
 of Parkland, Florida. A.J.T. is a student at Marjory Stoneman Douglas Highschool

 and a resident of Parkland, Florida.
        13. Crystal Lugo is the mother and guardian of T.M. and is a resident of
 Coral Springs, Florida. T.M. is a minor and student at Marjory Stoneman Douglas

 Highschool and a resident of Coral Springs, Florida.
        14. Jennifer Barrera is the mother and guardian of G.B. and is a resident of
 Parkland, Florida. G.B. is a minor and was at all pertinent times a student at Marjory

 Stoneman Douglas Highschool and a resident of Parkland, Florida.
        15. Audrey Diaz is a student at Marjory Stoneman Douglas Highschool and
 a resident of Coral Springs, Florida.
        16. Yudelquis Duran is the mother and guardian of B.A.J. and is a resident
 of Parkland, Florida. B.A.J. is a minor and student at Marjory Stoneman Douglas
 Highschool and a resident of Parkland, Florida.
        17. Juanita A. Vives is the mother and legal guardian of K.J.S.H. and is a
 resident of Coral Springs, Florida. K.J.S.H. is a minor and student at Marjory
 Stoneman Douglas Highschool and a resident of Coral Springs, Florida.
        18. Dawn DeLena is the mother and mother of R.D. and is a resident of
 Coral Springs, Florida. R.D. is a minor and student at Marjory Stoneman Douglas
 Highschool and a resident of Coral Springs, Florida.

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        19. Tanya McConnell, is the mother and mother of K.J.M. and is a resident
 of Parkland, Florida. K.J.M. is a minor and student at Marjory Stoneman Douglas

 Highschool and a resident of Parkland, Florida.
        20. All Plaintiffs were present at Marjory Stoneman Douglas Highschool
 during the shooting and suffered harm during the shooting in the form of, at least,

 severe psychological injury and trauma.
        21. Defendant SCOT PETERSON (“Peterson”) was at all pertinent times a
 Broward County deputy and was specifically tasked with protecting the Plaintiffs,

 even it meant risking his own life. It was and is a heroic job and one upon which
 people reply in the case of a life and death emergency. He was tasked with the job
 to protect the children at the school with the knowledge that he was possibly the only

 armed person in the immediate vicinity of the school. His job duties required him to
 run towards danger at risk of life and limb, and not to run away from danger for the
 sole purpose of sole-preservation. His arbitrary and conscience-shocking actions and
 inactions directly and predictably caused children to die, get injured, and get
 traumatized. Peterson is employed by the Broward County as a deputy police officer
 in the Marjory Stoneman Douglas Highschool, and at all times relevant herein was
 acting under the color of state law.
        22. Defendant JAN JORDAN (“Jordan”) was at all pertinent times a
 Broward County Captain and was commander of the shooting scene. She refused to
 allow emergency personnel to enter the school, even into the safe areas, to save lives.
 She was tasked with the job to protect the children at the school; her arbitrary and



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 conscience-shocking actions and inactions directly and predictably caused children
 to die, get injured, and get traumatized.

        23. Defendant ANDREW MEDINA (“Medina”) was at all pertinent times
 a Broward County School guard tasked with keeping children safe. His actions and
 inaction caused children to die, get injured, and get traumatized. Specifically, he

 failed to stop Shooter, question him, or lock down the school, even though he saw
 Shooter walk past him and he recognized Shooter to be a known danger to the school.
 He instead radioed ahead to warn fellow monitor David Taylor that a suspicious kid

 was headed his way. Medina also could have and should have called a code, which
 would have caused the school to lock down, thereby making it extremely difficult if
 not impossible for Shooter to have access to as many victims since they would be

 behind locked doors. Medina claimed he was ordered to not call a Code unless he
 actually saw a gun. If that statement is true, that training or policy demonstrates
 deliberate indifference on the part of Defendant County.
        24. Defendant ROBERT RUNCIE (“Runcie”) was at all pertinent times the
 superintendent of Marjory Stoneman Douglas High School, and charged with the
 tasks of, among other things, ensuring the safety and well-being of the students and
 faculty.
        25. Defendant SCOTT ISRAEL (“Israel”) was at all pertinent times the
 Broward County Sheriff and the decisionmaker and/or policymaker for Broward
 County. Israel’s job duties require him to properly train and supervise his
 subordinates to, among other things, ensure the safety of the public, including the
 students at Marjory Stoneman Douglas Highschool. His arbitrary and conscience-

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 shocking actions and inactions directly and predictably caused children to die, get
 injured, and get traumatized.

        26. Defendant, BROWARD COUNTY (“County”), is a political
 subdivision of the State of Florida, and at all times relevant herein, was acting under
 color of state law. Defendant County’s policies and procedures, and training or lack

 thereof, demonstrated deliberate indifference to the rights Plaintiffs, and that
 deliberate indifference caused the herein complained-of harm to take place.
        27. Each of the Defendants’ complained of actions were done intentionally,

 knowingly, recklessly, wantonly, with deliberate indifference, arbitrarily, and in a
 manner that shocks the conscience of the court in a constitutional sense.
                            FACTUAL BACKGROUND

                         The Unlawful Search and Seizure
        28. On February 14, 2018 at about 7:43 AM, T.M. arrived at Marjory
 Stoneman Douglas Highschool (“school”).
        29. The school day started at 7:40 AM and T.M. was a few minutes late.
        30. T.M. walked to his first class for the day which was weight training.
        31. Upon his arrival to the gym locker room, T.M. was not able to change
 his clothes because he was pulled out of class and escorted to the office for
 questioning.
        32. When he arrived at the office, there were about ten (10) to fifteen (15)
 students also waiting to be questioned. Upon information and belief, the students
 were called in one at a time to the office and were interrogated and searched by a
 member of the school’s staff.

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        33. T.M. was brought to the office and his backpack was searched by
 faculty.

        34. T.M. was not free to leave and not permitted to contact his attorney.
        35. T.M. was then detained by Defendant Peterson who took two-hundred
 dollars ($200) from T.M.’s backpack and conducted a custodial interrogation for

 approximately one hour.
        36. Defendant Peterson also searched T.M.’s bag.
        37. T.M. explained to Defendant Peterson that he had the money to take his

 high-school girlfriend out for a Valentine’s Day dinner after school.
        38. Defendant Peterson persistently accused T.M. of selling drugs.
        39. Defendant Peterson demanded that T.M. name those to whom he sold

 and if he did he would not be in trouble.
        40. T.M. explained to Defendant Peterson that he was late to school that
 day, so he could not and did not sell anything.
        41. Defendant Peterson told T.M. that he could search everyone in T.M.’s
 weight training class and that he only needed one student to say they got it from
 T.M. in order to pin it on him.
        42. Defendant Peterson did not return the money to T.M. but instead put it
 in an envelope that he said may only be picked up by T.M.’s mother, Ms. Lugo.
        43. T.M. explained that he needed the money for his dinner and Defendant
 Peterson said in reply “well that sucks.”
        44. At or around 9:30 a.m., Defendant Peterson also called Ms. Lugo to
 inquire about the money in T.M.’s bag.

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        45. Ms. Lugo again explained that the money was for T.M. to take his
 girlfriend out to dinner and that he was going to open his own bank account in the

 near future.
        46. Defendant Peterson accused T.M. of selling drugs and alleged that Ms.
 Lugo was lying to protect T.M.

        47. Defendant Peterson asserted that T.M. is not manly enough to own up
 to what he did and that he doesn’t like students like T.M. because they look good on
 paper but are actually really bad kids.

        48. Defendant Peterson sent T.M. to in-school suspension for possessing
 late passes in his bag which was against school policy.
        49. Defendant Peterson eventually returned the money to T.M., apparently

 realizing that he had seized T.M.’s money unlawfully.
                                  THE SHOOTING

        50. On February 14, 2018, at around 2:20 p.m., a former student who will
 not be named and will be referred to herein as “Shooter” arrived at Marjory
 Stoneman Douglas High School in Parkland, Florida, with the intention of
 committing a mass killing. Shooter was armed with a semi-automatic rifle and
 multiple magazines.
        51. Shooter is a former student of Marjory Stoneman Douglas High School
 who, upon information and belief, had been expelled from the school in 2017 for
 disciplinary reasons.




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         52. Upon information and belief, before Shooter’s expulsion, school
  administrators banned Shooter from wearing a backpack on campus because he had

  made threats against other students. The school’s superintendent, Defendant Runcie,
  and Broward County sheriff, Defendant Israel, were both well aware of the potential
  danger Shooter posed to the school and its students and faculty, yet they did nothing

  meaningful to enhance security from this known threat.
         53. Further, Runcie and Israel, at all pertinent times, were the
  decisionmakers and/or policymakers for the school and County, respectively. They

  were charged with the job to train and supervise their subordinates to, among other
  things, ensure the safety of the students at the school.
         54. Runcie was responsible to ensure the schoolgrounds were safe from

  events such as the one described in this action. He did not. In fact, he had been
  warned by multiple credentialed and experienced individuals that the schoolgrounds
  were not up to par regarding safety, particularly concerning school shooting
  scenarios.
         55. Runcie’s arbitrary and conscience-shocking actions and inaction
  predictably allowed shooter to cause the harm caused in this action. Further, Runcie,
  acting as decisionmaker and policymaker for the school, thereby demonstrated
  deliberate indifference to the students’ safety. This deliberate indifference
  predictably allowed the complained-of incident to happen.
         56. Israel was charged with ensuring he provided adequate security to the
  school. Instead, Israel provided Peterson, who was absolutely not adequate to
  provide security to the school. In fact, Peterson was known in certain law

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  enforcement circles as “Rod” which is an acronym for “retired on duty” due to the
  lackadaisical nature with which he approached the task.

         57. Peterson would regularly illustrate for the students how tough he was,
  but clearly avoided any potential danger he may face.
         58. Before Shooter’s expulsion, a neighbor called the Broward County

  Sherriff’s Office to report an Instagram post in which Shooter said he planned to
  shoot up the school and nothing was done by Defendants in response to her warning.
         59. After Shooter’s November 30, 2017 expulsion, the Broward County

  Sherriff’s Office received a call from a tipster in Massachusetts who warned them
  that Shooter was collecting guns and knives and could be a school shooter in the
  making. The deputy referred that tipster to a different Florida Sherriff’s office.

         60. The Broward County Sherriff’s office received many dozens of calls
  warning them about Shooter from 2008 to 2017 and they did nothing to ensure that
  Shooter did not live out his sick dream of shooting up the school.
         61. On the day of the shooting, Shooter took an Uber to the school and
  walked to the school’s 1200 building carrying a large duffel bag and a backpack.
  What followed was about eight minutes of hell as follows:
     ▪ 2:19 Shooter arrived at the school in an Uber.
     ▪ 2:21:19 Shooter enters the East building and went to stairwell 1200B.
     ▪ 2:21:35 Shooter stands in front of room 1217, kills three students who were
        standing in doorway of 1215 and injures one who was in the hallway just past
        the door to room 1212, who tried to take cover first in room 1209 and then
        took cover in room 1210.

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     ▪ 2:21:40 Shooter stands in the entry of room 1216 where there are eight
        students, injures three students, kills one, traumatizes four.

     ▪ 2:22:20 Shooter stands in the doorway of room 1214 where there are six
        students and in less than five seconds, murders two and injures four.
     ▪ 2:22:40 Shooter returns to room 1216 and kills two of the four uninjured

        students, and injures the other two.
     ▪ 2:22:51 a teacher enters the hallway from the other end and is injured by
        Shooter, and takes cover in doorway of room 012C.

     ▪ 2:22:55 Shooter stands again in doorway of 1214 for about five seconds before
        leaving again.
     ▪ 2:23:05 Shooter stands in doorway of room 1213 where there are four

        students, kills one and injures three.
     ▪ 2:23:21 Shooter walks down hallway and kills the teacher who was injured
        who was taking cover in doorway of room 012C.
     ▪ 2:23:25 Shooter enters 1200A at the same time as a teacher entered through a
        different door and immediately kills the teacher.
     ▪ 2:23:37 Shooter exited 1200A stairwell on second floor and made his way
        down the hall checking each classroom for occupants and entered stairwell
        1200B at 2:24:18.
     ▪ 2:24:30 Shooter exits stairwell 1200B on third floor and while standing in
        hallway by stairwell, shot and inured student standing in doorway of room
        1255 and kills teacher standing in doorway of 1256, and injures four more
        students down the hallway; around 21 students down the hall and seven run

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        into room 1255, one inured student takes cover in the doorway of 1247, one
        injured student stays in the middle of the hallway, and the remaining students

        congregate by the doorways of 1249 and 1250.
     ▪ 2:24:39 Shooter stands by doorway of 1255 for about 3 seconds but does not
        enter.

     ▪ 2:24:40 Shooter turns around and looks into room 1256 and then continues
        back towards the stairwell before turning back towards the hall and shooting
        again at students.

     ▪ 2:24:55 Shooter starts down the hall again but stops and starts shooting from
        in front of room 1256, and around ten uninjured students start running towards
        the 1200A stairwell, seven remain in 1250, seven (including one injured)

        remain in room 1255, the four injured students down the hallway remain
        where they are: one in the doorway of 1247, one in the middle of the hallway,
        and two in the doorway of room 1249.
     ▪ 2:24:59 of the ten students who run for stairwell 1200A, seven make it out
        uninjured, one makes it out injured, and two are killed right by the stairwell
        and then he again stands by the doorway of room 1255 for around five seconds
        before taking off down the hall again towards stairwell 1200A.
     ▪ 2:25:09 Shooter takes off down the hallway west towards stairwell 1200A and
        kills the two injured students by the doorway of room 1249 and also kills the
        student by the doorway to room 1247.
     ▪ 2:25:40 Shooter enters room 1240 and leaves at 2:27:32.



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     ▪ 2:27:36 Shooter enters stairwell 1200A and exits from the first floor door at
        2:27:55.

     ▪ 3:39 Shooter was caught and arrested some time later by Coconut Creek and
        Coral Springs Police Officers.
                        LAW ENFORCEMENT FAILURES

         62. Numerous failures by numerous government actors, including law
  enforcement, strongly continued to Shooter’s ability to carry-out this horrific attack,
  without which this attack could not have happened.

         63. Defendant Medina allowed Shooter to walk right into the 1200 building
  without stopping him, despite the fact that Medina recognized Shooter as a bad kid
  who was potentially dangerous and would want to shoot up a school. Medina did not

  even call in a code, which would have put the school on lockdown and prevented
  most if not all of the harm from occurring.
         64. Defendant Medina watched Shooter walk in and described it as a “B-
  line” as though “he was on a mission” so he tried to drive a golf cart to Shooter, but
  that only made Shooter pick up the speed.
         65. He radioed that a suspicious person was walking in through the east
  side holding a black bag. When Shooter saw the golf cart, Shooter started to run and
  then it was “not even a minute”, when Medina heard the first pop. During that “not
  even a minute” there was still plenty of time to reach Shooter and neutralize him
  before Shooter would have been able to remove his gun from the bag.
         66. Medina further explained that he immediately “knew the kid from the
  school from last year” and that at a meeting from the year prior there was consensus

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  that if anyone would shoot up the school, it would be Shooter, and STILL Medina
  did nothing, not even call a code. Medina did however have enough time to text

  other security officers about who the suspicious person was, again instead of
  approaching Shooter or calling a code.
         67. Even after hearing the first several shots ring out through the school’s

  hallways, Medina still didn’t call in a code because he claims he didn’t see a gun.
  This lack of training demonstrates deliberate indifference on the parts of Israel,
  Runcie and the County. Alternatively, a policy not allowing Medina to call a code

  unless he SEES a gun, further demonstrates deliberate indifference to the Plaintiffs.
         68. Defendant Peterson and the three John Doe’s stood by outside the
  school while the students were being gunned down by Shooter one at a time, with

  their guns drawn, but taking literally no actions to prevent Shooter from marching
  through the three floors of the 1200 building, taking his time, and murdering
  seventeen students and injuring many more.
         69. Coral Springs Police Officer Wilkins and Coral Springs Sergeant
  Mazzei rushed past four Broward County Sheriff (“BSO”) deputies who were hiding
  to keep themselves safe at the expense of the safety of the students, by taking up
  exterior positions behind their vehicles. Wilkins was advised by an unknown BSO
  Deputy taking cover behind a tree, “he is on the third floor”, which establishes that
  BSO did in fact know where Shooter was and proves that Peterson’s claims he made
  after the shooting, that he did not know where Shooter was, were untrue.
         70. Peterson has switched his account of his actions and inactions on
  February 14, 2017 based on what information was available to the public. First, he

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  explained that he did not enter the 1200 building to confront the shooter because he
  believed the shooter was in the area of the football field. “I was scanning for the

  shooter, looking over the windows, the sidewalk, the rooftop. I thought maybe it was
  a sniper like in Las Vegas.” This implies that his goal was to attack the shooter, but
  he did not know where the shooter was. Then Peterson said that he was attempting

  to seek cover and assess the situation, as he claimed he was trained by Israel and the
  county.
         71. Peterson subsequently claimed, that contrary to what Israel had

  announced was the policy, that The Broward County Sheriff's Office, or BSO, "trains
  its officers that in the event of outdoor gunfire one is to seek cover and assess the
  situation in order to communicate what one observes to other law enforcement,"

  DiRuzzo said.
         72. Peterson acted consistent with his training and "took up a tactical
  position between the 700-800 buildings corridor/corner," Peterson said. He was the
  first officer to advise dispatch that he heard shots fired, and he initiated a "Code" to
  lock down the campus, according to the statement.
         73. President Trump also lambasted Peterson by proclaiming that Peterson
  had “choked” which is accurate.
         74. Israel referred to Peterson as a “disgrace” for standing outside and not
  going in. This is perhaps the truest thing Israel has said about this tragedy.
         75. Peterson claimed:
     ▪ That he initially “received a call of firecrackers — and not gunfire — in the
        area of the 1200 Building.”

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     ▪ In response to the firecracker call Mr. Peterson along “with Security
        Specialist Kelvin Greenleaf exited the 100 Building and ran north the couple

        of hundred yards to the 1200 Building.”
     ▪ Upon arriving at 1200 Building Mr. Peterson “heard gunshots but believed
        that those gunshots were originating from outside of any of the buildings on

        the school campus.”
     ▪ BSO trains its officers that in the event of outdoor gunfire one is to seek
        cover and assess the situation in order to communicate what one observes to

        other law enforcement.
     ▪ Consistent with his training, Mr. Peterson “took up a tactical position
        between the 700-800 buildings corridor/corner.”

     ▪ Peterson was the first BSO officer to advise BSO dispatch that he heard
        shots fired.
     ▪ Peterson “initiated a ‘Code’ lockdown of the entire school campus.”
         76. Peterson has claimed that he remained outside because a) He believed
  the shooter was inside; and b) because the believed the shooter was outside.
         77. Defendant Jordan prevented emergency responders from entering the
  1200 building to either confront Shooter or to aid the victims.
         78. While the shooting was happening, Coral Springs deputy fire chief
  Michael McNally (“McNally”) repeatedly asked Captain Jan Jordan for permission
  to send his medics inside the school but was rebuffed by Jordan.




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         79. McNally kept asking for permission for additional medics for
  additional specially trained medics to go into rooms that had already been searched

  and found to be safe, but Jordan did not approve this request either.
         80. McNally asked Jordan six times for permission to enter all to no avail.
         81. Further, when Margate police officer Chad Ryen arrived, he informed

  Jordan that he was a SRT/SWAT operator and there was no time to wait. He then
  made the determination to enter the school.
         82. The Broward County Sherriff’s Office policy on active shooters

  indicates responding deputies may enter the building to preserve life without
  permission. The policy does not list staging yet Jordan chose to stage, in violation
  of policy, due either to her grossly inadequate training or her deliberate indifference.

         83. Defendants Israel and Broward County demonstrated deliberate
  indifference through their policies and procedures and through their inadequate
  training and supervision. That deliberate indifference caused the herein complained-
  of harm.
         84. Israel has continually attempted to credit himself while placing blame
  on others. In his haste to shift the blame to his subordinate, Israel confirmed what
  many already believed to be fact, IE that Peterson was so inadequately trained by
  both the County and by Israel, that he was in no position to do the job which he was
  tasked to do, IE protect the school. He further confirmed that Peterson was supposed
  to run towards the shooter to confront him, not away from him. Incidentally, this
  also confirms that Jan Jordan, who notoriously gave the “stage” order instead of
  ordering the officers on-scene to enter the school to neutralize Shooter, also did not

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  act appropriately. She too was so poorly trained by Israel and the County that she
  too was incapable of adequately conducting the tasks which she was assigned.

  Alternatively, she was properly trained and she arbitrarily and in a manner that
  shocks the conscience, gave the “stage” order which allowed the nightmare to
  continue. Those injured continued to suffer, and those traumatized, continued to be

  traumatized well past the point where the trauma could have ended, had the officers
  on-scene been permitted by Jordan to enter the building. Israel publicly declared in
  2015 about Peterson “Your dedication and allegiance are the best illustrations of the

  service [the sheriff's office] provides to the people of Broward County.” Sadly, this
  is true, and forms a basis of liability in the instant action.
         85. Eventually, Coral Springs fire officials released records which further

  demonstrated how chaotic the County’s handling of this matter was. One of the
  documents states the Broward Sheriff's Office failed to set up an effective central
  command post, contributing to the confusion and frustration among the medics. The
  same issue was a problem in the January 2017 Fort Lauderdale airport killings - the
  last major shooting the Sheriff's Office handled.
         86. By the time the whole building was deemed safe for them to enter, there
  was no need - everyone had already been brought out by police or was dead. Some
  of that blood is on Jordan’s hands, as is the trauma that the victims suffered for an
  unnecessarily prolonged period of time.
         87. Defendant Israel and Defendant Broward County either have a policy
  that allows killers to walk through a school killing people without being stopped. Or
  they have such inadequate training that the individuals tasked with carrying out the

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  polices, such as Medina, Peterson and Jordan, lack the basic fundamental
  understandings of what those policies are such that they are incapable of carrying

  them out.
         88. Superintendent Runcie and Sherriff Israel were aware of the terrible
  lack of security at the school and yet chose not to fix it. In fact, they had been warned

  multiple times by multiple experts that the school was a primary target for a school
  shooting and that the school’s security was woefully inadequate. Runcie and Israel
  did nothing to address the issues.

         89. Further, Runcie and Israel knew that Shooter in particular posed a
  school-shooting threat, especially since the school was so woefully unprepared for
  such an attack, and yet Runcie and Israel continued to do nothing to address the

  numerous security concerns.


                                  COUNT I
              VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. § 1983
                    (Fourth Amendment – Unlawful Detention)

                   (T.M. Against Defendants Peterson, and County)

         90. Plaintiffs hereby incorporate herein all the prior allegations.
         91. The Fourth Amendment requires police officers and agents of the law
  to possess sufficient probable cause before placing a criminal suspect under arrest
  or detainment.
         92. At all times relevant, Plaintiffs had a clearly established right to liberty,
  including the right to personal safety and bodily integrity, as well as protection from

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  unlawful seizure, unnecessary force, unreasonable force pursuant to the Fourth
  Amendment to the United States Constitution.

         93. At all times relevant, as a police officer acting under the color of law,
  Defendant Peterson was required to obey the laws of the United States.
         94. Defendants       intentionally,        knowingly,   maliciously,   recklessly,

  unreasonably, and/or gross negligently detained and/or arrested Plaintiff without a
  warrant or any lawful basis.
         95. Plaintiff was escorted through the school and to different administrative

  offices, was confined to the office, and was not free to leave or return to class and
  was therefore arrested and/or detained.
         96. Plaintiff was detained by Defendants for having money in his bag.

         97. Plaintiff was not given the opportunity to have an attorney present
  during Defendant’s interrogation which lasted several hours.
         98. Plaintiff’s arrest was based on Defendants’ knowing, deliberate, and
  reckless disregard for the truth.
         99. Further, the Defendants had no knowledge of any fact or circumstance
  which would lead a reasonable person to believe that Plaintiff committed any
  offense, whatsoever.
         100. Defendants intentionally detained Plaintiff and/or had Plaintiff arrested
  with the intention of confining him within the fixed boundaries of the administrator’s
  office, and kept him confined in their custody for three (3) hours before releasing
  him to I.S. for a minor issue unrelated to the investigation.



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          101. Additionally, Defendants’ conduct in arresting and confining Plaintiff
  deprived him of his liberty without consent, probable cause, reasonable suspicion,

  legal justification, just cause, or any other legally valid reason.
          102. All the aforementioned acts deprived Plaintiff of the rights, privileges
  and immunities guaranteed to citizens of the United States by the Fourth, Fifth and

  Fourteenth Amendments to the Constitution of the United States of America, and in
  violation of 42 U.S.C. § 1983.
          103. The acts complained of were carried out by the aforementioned

  Defendant Peterson in his capacity as a police officer, with the entire actual and/or
  apparent authority attendant thereto.
          104. The acts complained of were carried out by Defendant Peterson in his

  capacities as a deputy police officer, pursuant to the customs, usages, practices,
  procedures, and the rules of the Broward County Sherriff’s Department, all under
  the supervision of ranking officers of said department.
          105. Defendants collectively and individually, while acting under the color
  of state law, engaged in conduct that constituted a custom, usage, practice, procedure
  or rule of the respective municipality/authority, which is forbidden under the
  Constitution of the United States.
          106. Defendants’ actions constituted an unlawful arrest and/or detention of
  Plaintiff.
          107. As a proximate result of the illegal and unconstitutional acts of the
  Defendants, Plaintiff T.M. suffered harm.



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                                 COUNT II
             VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. § 1983
               (Fourth Amendment – Unlawful Search of Backpack)

                   (T.M. Against Defendants Peterson and County)

         108. Plaintiffs hereby incorporate herein all the prior allegations.
         109. The Fourth Amendment requires police officers to possess sufficient
  probable cause or reasonable suspicion before searching the property of a criminal
  suspect in a school setting.

         110. Defendant Peterson intentionally, knowingly, and maliciously,
  recklessly, unreasonably, and/or gross negligently searched Plaintiff’s bag without
  reasonable suspicion or probable cause.

         111. Defendant Peterson searched Plaintiff’s bag in violation of Plaintiff’s
  Fourth Amendment rights.
         112. At all times relevant, Plaintiff had a clearly established right to liberty,
  including unlawful search pursuant to the Fourth Amendment to the United States
  Constitution.
         113. At all times relevant, as a police officer acting under color of law,
  Defendant Peterson was required to obey the laws of the United States.
         114. The acts complained of were carried out by Defendant Peterson in his
  capacity as a police officer, with the entire actual and/or apparent authority attendant
  thereto.
         115. The acts complained of were carried out by Defendant Peterson in his
  capacity as a police officer, pursuant to the customs, usages, practices, procedures,

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  and the rules of the Broward County Sheriff’s Department, all under the supervision
  of ranking officers of said department.

         116. Defendant Peterson, while acting under the color of state law, engaged
  in conduct that constituted a custom, usage, practice, procedure or rule of the
  respective municipality/authority, which is forbidden under the Constitution of the

  United States.
         117. In violation of Plaintiff’s clearly established constitutionally-protected
  right to be free unreasonable search and seizure without due process of law under

  the Fourth Amendments to the United States Constitution, Defendant Peterson and
  Broward County Sheriff’s Office unlawfully seized and searched Plaintiff’s person
  and property.

         118. As a proximate result of the illegal and unconstitutional acts of the
  Defendants, Plaintiff T.M. suffered harm.

                              COUNT III
           VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. § 1983
              (Fourth Amendment – Unlawful Seizure of Money)

                    (T.M. Against Defendant Peterson and County)

         119. Plaintiffs hereby incorporate herein all the prior allegations.
         120. The Fourth Amendment requires police officers to possess sufficient

  probable cause or reasonable suspicion before seizing the property of a criminal
  suspect in a school setting.




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         121. Defendant Peterson intentionally, knowingly, and maliciously,
  recklessly, unreasonably, and/or gross negligently seized Plaintiff’s money without

  a warrant or any lawful basis.
         122. At all times relevant, Plaintiff had a clearly established right to liberty,
  including unlawful seizure pursuant to the Fourth Amendment to the United States

  Constitution.
         123. At all times relevant, as a police officer acting under color of law,
  Defendant Peterson was required to obey the laws of the United States.

         124. The acts complained of were carried out by Defendant Peterson in his
  capacity as a deputy police officer, with the entire actual and/or apparent authority
  attendant thereto.

         125. The acts complained of were carried out by Defendant Peterson in his
  capacity as a deputy police officer, pursuant to the customs, usages, practices,
  procedures, and the rules of the Broward County Sherriff’s Office, all under the
  supervision of ranking officers of said department.
         126. Defendant Peterson, while acting under the color of state law, engaged
  in conduct that constituted a custom, usage, practice, procedure or rule of the
  respective municipality/authority, which is forbidden under the Constitution of the
  United States.
         127. In violation of Plaintiff’s clearly established constitutionally-protected
  right to be free from punishment and deprivation of life, liberty, and property without
  due process of law under the Fourth Amendments to the United States Constitution,
  Defendant Peterson unlawfully seized Plaintiff’s property.

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         128. As a proximate result of the illegal and unconstitutional acts of the
  Defendants, Plaintiff suffered harm.

                                    COUNT IV
            VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. § 1983
            (Municipal Liability-Policy of Unlawful Search and Seizure)

                              (Against Defendant County)

         129. Plaintiffs hereby incorporate herein all the prior allegations.
         130. A municipality is liable under 42 U.S.C. § 1983 if the acts that violated

  a person’s rights are attributable to its own policies, practices, and customs.
         131. At all times relevant to this complaint, Defendant Broward County
  acted with deliberate indifference to Plaintiff’s constitutional rights by maintaining

  policies, practices, and customs that condoned and fostered Defendant Peterson’s
  conduct, or alternatively the training provided to Peterson was so grossly inadequate
  that he was not prepared to handle the assigned tasks.
         132. Defendant Broward County permitted Defendant Peterson to carry out
  searches and seizures without a warrant, probable cause, reasonable suspicion or any
  legal basis.

         133. This custom and policy of baseless searches and seizures of student’s
  person and personal property was standard operating procedure for Defendant
  Peterson, a deputy police officer, and directly caused him to deprive Plaintiff of
  constitutionally-protected rights as described herein.
         134. In the alternative and at all times relevant to this complaint, Defendant
  Broward County, did not in fact have such a policy in place, but failed to properly

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  train Defendant Peterson, a deputy police officer in a school setting, thereby
  demonstrating deliberate indifference to Plaintiff’s rights.

         135. Defendant Broward County failed to: (a) adequately supervise and train
  its officers and agents, specifically Defendant Peterson, a deputy officer, thereby
  failing to adequately discourage further constitutional violations on the part of its

  officers; and (b) properly and adequately monitor and discipline its officers.
         136. Defendant Peterson unconstitutionally searched and seized Plaintiff’s
  person and belongings without any legal basis.

         137. As is being pled in this alternative, the fundamental lack of knowledge
  of such basic constitutional rights by a deputy such as Peterson, could only be the
  by-product of Broward County’s failure to adequately train Peterson before putting

  him the position in which he was placed by the defendant County.
         138. Defendant Broward County failed to properly train its police officers
  on the proper standard for initiating an investigation of a criminal suspect, when and
  how to seize their property, and how to preserve their property unless and/or until
  an order to destroy such property is entered by a court of competent jurisdiction.
         139. Defendant Broward County’s failure to adequately supervise and train
  its police officers on the proper procedures for investigations and criminal
  investigations caused Defendant Peterson to violate Plaintiff’s Constitutional rights.
         140. As a result of Defendant Broward County’s failure to adequately train
  or correct an unlawful policy, Plaintiff was harmed.




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                                COUNT V
           VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. § 1983
                (Arbitrary Or Conscience-Shocking Conduct)

                       (Against All Defendants for the Shooting)

         141. Plaintiffs hereby incorporate herein all the prior allegations.
         142. A state or local official is liable under 42 U.S.C. § 1983 if the acts that
  perpetrated a violation of a person’s rights were arbitrary or conscience shocking.
         143. At all times relevant, Plaintiffs had a clearly established right to liberty,

  including their rights to personal safety and bodily integrity, as well as protection
  from unlawful seizure pursuant to the Fourth Amendment to the United States
  Constitution.
         144. Plaintiffs were seized in that they suffered harm, physical and/or
  emotional by being shot at or by being in such close proximity to the shooting.
         145. At all times relevant to this complaint, Defendant Peterson, as a deputy

  police officer stationed at a public high school and acting under the color of law, had
  a duty to perform his job and obey the laws of the United States.
         146. Defendants acted with extreme deliberate indifference to Plaintiffs

  constitutional rights by knowingly failing to engage with a recognized threat and
  intentionally evading his duties to protect the students and staff of Marjory Stoneman
  Douglas Highschool.

         147. Defendant Medina’s failure to detain and/or stop and/or engage with a
  known and recognized threat inside of a public high school shocks the conscience.




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         148. Defendant Peterson’s intentional evasion of his official duties, i.e.
  intentionally hiding while the shooter was actively shooting students and school staff

  knowing he was the only person at the school with access to weapons for defense,
  shocks the conscience.
         149. Defendant John Does 1-3 acted arbitrarily and in a manner that is

  conscience-shocking by hiding instead of confronting Shooter.
         150. Defendant Jordan’s order to “stage” instead of to attack the shooter was
  both arbitrary and conscience-shocking.

         151. Defendant Runcie’s and Defendants Israel’s apathetic approach to
  dealing with known threats, instead of taking safety measures, is arbitrary and
  conscience-shocking.

         152. Defendant County, through its policymaker and decisionmaker,
  enacted policies, both in the form of actual policy, and in the form of woefully
  inadequate training, that demonstrated deliberate indifference to the rights of
  Plaintiff and that deliberate indifference caused the herein complained-of harm.
         153. Defendants’ actions and/or inactions were directly related to and a
  proximate cause of the deaths and injuries sustained by the students and staff of
  Marjory Stoneman Douglas Highschool.
         154. As a result of Defendant Peterson’s actions and/or inactions, Plaintiffs
  were injured and seek compensatory and punitive damages in addition to reasonable
  attorney’s fees.




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                                PRAYER FOR RELIEF
        WHEREFORE, Plaintiff, Chrystal Lugo as guardian of T.M., demands

  judgment and prays for the following relief, jointly and severally, against all
  Defendants:
                a.    Full and fair compensatory damages in an amount to be

                      determined by a jury;
                b.    Punitive damages in an amount to be determined by a jury;
                c.    Reasonable attorney’s fees and costs of this action; and

                d.    Any such other relief as appears just and proper.
                                    JURY DEMAND
  Plaintiff hereby demands a trial by jury of all triable issues, per Fed. R. Civ. P. 38(b).

                                              Respectfully Submitted,
  Dated: July 11, 2018
                                               /s/ Kristoffer R. Budhram
                                              Kristoffer R. Budhram (125950)
                                              Attorney for Plaintiffs
                                              Bank of America Tower
                                              50 N. Laura Street, Suite 2500
                                              Jacksonville, FL 32202
                                              (904) 299-5500
                                              krbudhram@benedettolaw.com

                                              /s/ Solomon M. Radner
                                              Solomon M. Radner (pro hac vice pending)
                                              EXCOLO LAW, PLLC
                                              Attorney for Plaintiff
                                              26700 Lahser Road, Suite 401
                                              Southfield, MI 48033
                                              (248) 291-9712
                                              sradner@excololaw.com

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